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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               LUBBOCK DIVISION


IN RE:                                        §
                                              §
REAGOR-DYKES MOTORS, LP                       §          CASE NO. 18-50214-rlj11
                                              §
Debtor.                                       §



              NOTICE OF APPEARANCE AND REQUEST FOR SERVICE


       Pursuant to Federal Bankruptcy Rule 9010(b), the undersigned attorney enters an

appearance on behalf of Wells Fargo Bank, N.A. in the above-styled and numbered cause:

                       Thomas A. Connop
                       Texas Bar No. 04702500
                       tconnop@lockelord.com
                       LOCKE LORD LLP
                       2200 Ross Avenue, Suite 2800
                       Dallas, Texas 75201
                       (214) 740-8000 (Telephone)
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       Please provide Thomas A. Connop with copies of all notices, correspondence, pleadings

or other documents in this case.




NOTICE OF APPEARANCE                                                                     PAGE 1
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Date: August 3, 2018                        Respectfully submitted,


                                            /s/ Thomas A. Connop
                                            Thomas A. Connop
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                                             ATTORNEYS FOR WELLS FARGO BANK,
                                             N.A.



                               CERTIFICATE OF SERVICE

        I certify that on August 3, 2018, a true and correct copy of the foregoing was served via
the Court’s Case Management/Electronic Case Filing System to all parties authorized to receive
notice in this proceeding.



                                            /s/ Thomas A. Connop
                                            Thomas A. Connop




NOTICE OF APPEARANCE                                                                       PAGE 2
